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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA



  BRYAN BOIGRIS,

         Plaintiff/Counter-Defendant,

  v.                                               CASE NO.: 19-CV-21148-SCOLA

  EWC P&T, LLC,

        Defendant/Counter-Plaintiff.
  _________________________________/



                            MEDIATOR’S REPORT

       The undersigned mediator reports that on December 15, 2019, a mediation was

  held. All required parties were present.

       The mediation ended in an impasse.


  Dated: January 2, 2020                     Respectfully submitted,


                                             /s/ Harry R. Schafer
                                             Harry R. Schafer
                                             Florida Bar No. 508667
                                             Email: harryrschafer@gmail.com
                                             ESQUIBEL COMMUNICATIONS CO.
                                             2775 NW 49th Ave.
                                             Unit 205 # 413
                                             Ocala, FL 34482
                                             Telephone: (305) 439-4285

                                             Mediator

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                               CERTIFICATE OF SERVICE

         I hereby certify that on the 2nd day of January, 2020, I furnished this Mediator’s

  Report to counsel for the parties for their electronic filing of the foregoing with the Clerk

  of the Court.



                                                           /s/ Harry R. Schafer
                                                           Harry R. Schafer




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